        Case 2:16-cr-00171-DAD Document 53 Filed 10/06/17 Page 1 of 5


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11
                                     UNITED STATES DISTRICT COURT
12
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA,                         No. 2:16-cr-00171-KJM
15
                        Plaintiff,
16
            v.                                         ORDER
17
     MARIA SEFORA SANTA and VIRGIL
18   SEVER SANTA,
19                      Defendants.
20

21

22                  Before the court are two requests related to the trial pending later this month.

23   First, the government asks the court to empanel dual juries. ECF No. 44. Defendant Virgil Santa

24   opposes. ECF No. 46. Second, the government seeks to admit Pretrial Services Officer Taifa

25   Gaskins’s testimony at trial and has asked the court for permission for the parties to discuss with

26   Officer Gaskins the testimony she would provide if required to testify subject to the subpoena the

27   government has issued. ECF No. 48. As explained below, the court DECLINES to empanel dual

28
                                                      1
           Case 2:16-cr-00171-DAD Document 53 Filed 10/06/17 Page 2 of 5


 1   juries but severs defendants for trial. The court DENIES the government’s second request,
 2   without prejudice to renewal during trial as explained.
 3   I.       DUAL JURIES (BRUTON)
 4                   The parties agree, if admissible, Virgil Santa’s statements, attached at ECF No. 44-
 5   1, cannot satisfy the Bruton rule. See Bruton v. United States, 391 U.S. 123 (1968). Bruton held
 6   that a defendant’s Confrontation Clause rights are violated when a non-testifying co-defendant’s
 7   confession naming the defendant as a participant in the crime is introduced at their joint trial,
 8   even if the court instructs the jury to consider the confession only against the defendant.
 9   Richardson v. Marsh, 481 U.S. 200, 201-02 (1987) (stating this rule). Such statements may
10   violate the Confrontation Clause when they “facially, expressly, clearly, or powerfully implicate[]
11   the defendant.” United States v. Angwin, 271 F.3d 786, 796 (9th Cir. 2001) (citing Bruton, 391
12   U.S. at 135-36), overruled on other grounds by United States v. Lopez, 484 F.3d 1186, 1210 (9th
13   Cir. 2007).
14                   Having reviewed the statements, the court finds, as all parties agree, a limiting jury
15   instruction cannot sanitize Virgil Santa’s statements. Accordingly, the court must either sever the
16   trials or empanel separate juries. Because each trial is slated to last a maximum of three days, and
17   given the logistical challenges inherent in empaneling dual juries, the court DENIES the
18   government’s request and instead will sever the trials to run consecutively. Virgil Santa’s trial
19   will be held first to accommodate the schedule of certified Romanian interpreters.
20                   Accordingly, Virgil Santa’s trial is confirmed to begin Tuesday morning,
21   October 17, 2017, at 9 a.m. Maria Santa’s trial will follow upon conclusion of Virgil Santa’s
22   trial, with the exact start date and time set by that time.
23   II.      PRETRIAL SERVICES INFORMATION DISCLOSURES
24                   The government also requests the court require Pretrial Service Officer Gaskins to
25   disclose prior to trial the testimony she would provide subject to subpoena, contending her
26   testimony will be admissible and advanced disclosure will help the parties narrow issues and
27   efficiently prepare to present their cases. ECF No. 48. Officer Gaskins served as the Pretrial
28   Services Officer for Maria Santa. At the time she spoke to Virgil Santa in February 2014, if she
                                                        2
        Case 2:16-cr-00171-DAD Document 53 Filed 10/06/17 Page 3 of 5


 1   did, he was not subject to pretrial supervision as the charges against him had been dismissed.
 2   Case No. 2:08-cr-468, Mins. Aug. 21, 2013 Status Conf., ECF No. 368 (“The court granted the
 3   government's motion, and all charges were dismissed as to Virgil Sever Santa.”). The
 4   government seeks Officer Gaskins’s testimony as to whether she told Virgil an arrest warrant for
 5   Maria would be, or had been, issued. ECF No. 48 at 1. Whether to grant this request turns on
 6   whether the underlying information will be admissible at trial.
 7                   The pretrial services statutory framework deems information obtained during the
 8   pretrial services process confidential and presumptively inadmissible to prove guilt in criminal
 9   prosecutions. 18 U.S.C. § 3153(c)(1), (c)(3). Information a pretrial services officer obtains, not
10   through her relationship with the accused, but rather through mere observation on the job, may be
11   admissible to prove guilt. See United States v. Hammond, 666 F.2d 435, 438 (9th Cir. 1982)
12   (finding no error where district court permitted pretrial services officer to testify about what he
13   saw defendant do). Here it appears the government seeks to know more than what Officer
14   Gaskins merely observed. When pretrial statements are at issue, Circuit courts generally have
15   found pretrial services information, even if presumptively confidential, may be used to impeach
16   defendants and witnesses in criminal trials. See United States v. Stevens, 935 F.2d 1380, 1394 (3d
17   Cir. 1991) (“There is . . . no clear statutory bar to using pretrial services statements for
18   impeachment purposes.”) (citation and emphasis omitted); see also United States v. De La Toree,
19   599 F.3d 1198, 1205 (10th Cir. 2010) (finding confidential pretrial services information
20   admissible for impeachment); United States v. Griffith, 385 F.3d 124, 126 (2d Cir. 2004) (same);
21   United States v. Wilson, 930 F.2d 616, 619 (8th Cir. 1991) (same); United States v. Balogun, 463
22   F. App’x 476 (6th Cir. 2012) (same); but see United States v. McLaughlin, 777 F.2d 388, 392 (8th
23   Cir. 1985) (expressing concerns about using pretrial services information for impeachment
24   purposes, although issue not raised by defendant on appeal). This distinction makes sense, as
25   impeachment evidence is subject to more lenient admissibility standards than evidence used to
26   prove guilt. See, e.g., Fed. R. Evid. 609 (exceptions to ban on propensity evidence when used for
27   impeachment).
28
                                                        3
        Case 2:16-cr-00171-DAD Document 53 Filed 10/06/17 Page 4 of 5


 1                  Here, it is unclear if the information the government seeks to admit is in fact
 2   “pretrial services information.” The statute does not define this type of information, and instead
 3   directs the Chief Pretrial Services Officer in each district to “issue regulations establishing the
 4   policy for release of information made confidential by paragraph (1) of this subsection.” 18
 5   U.S.C. § 3153(a)(2). The applicable regulations in this district broadly define pretrial services
 6   information as “any information . . . obtained or developed by a pretrial services officer in the
 7   course of performing pretrial services.” Guide to Judiciary Policy, Vol. 8, Pt. A, App’x 5A:
 8   Confidentiality Regulations, Section 2.A (defining “[p]retrial services information”).1 The
 9   government says it does not seek information Officer Gaskins “obtained” or “developed” through
10   pretrial services; rather, the government seeks to admit any statement Officer Gaskins made to
11   Virgil Santa about a matter of public record, an existing warrant for Maria Santa’s arrest.
12                  Nonetheless, considering the strong policy interests in broadly insulating
13   confidential pretrial services information from use in criminal trials, see, e.g., Stevens, 935 F.2d at
14   1396 (describing policy goal of preserving “sanctity” of the relationship between a defendant and
15   a pretrial services officer), the government has not persuaded the court that the testimony of
16   Officer Gaskins is admissible for any purpose other than impeachment. The government cites no
17   case law applying the definition of pretrial services information or the words “obtained” or
18   “developed” as used in the regulations; it concedes no authority addresses whether the type of
19   statement it seeks here would be admissible on the issue of guilt of Virgil Santa: that is, where the
20   statement is that of a pretrial services officer made to a third party about a defendant. Each case
21   the government cites to argue admissibility either pertains exclusively to impeachment evidence
22   or is materially distinguishable. See ECF No. 48 at 4-5; see also Hammond, 666 F.2d at 438 (“No
23   court has yet issued an opinion defining the scope of the category of ‘information’ that is subject
24   to this confidentiality requirement” and “it is thus unclear whether . . . the protection is limited to
25   information that a defendant directly communicates to the [pretrial services officer].”).
26
            1
27             The court will file this portion of the regulations, which are otherwise not publicly
     available, on the court’s docket.
28
                                                        4
        Case 2:16-cr-00171-DAD Document 53 Filed 10/06/17 Page 5 of 5


 1                  Equally important, defendant Maria Santa has now pled guilty to the sole charge
 2   for which the statute itself would render the statement admissible, failure to appear for service of
 3   sentence. 18 U.S.C. § 3153(c)(3) (noting exception to admissibility bar if the prosecution is for
 4   “failure to appear for the criminal judicial proceeding with respect to which pretrial services were
 5   provided.”); see Mins. from Maria Santa Plea H’rg, ECF No. 49.
 6                  The court is unpersuaded by the government’s contention at hearing that its dire
 7   need for the statement to prove an element of the pending charge against Virgil Santa, namely his
 8   awareness that a warrant was issued for his wife’s arrest, compels the statement’s admissibility.
 9   The court therefore will limit admissibility to impeachment purposes, if any statement is relevant.
10   The court DENIES the government’s request for pretrial disclosure of any statement Officer
11   Gaskins made to Virgil Santa, without prejudice to renewal if grounds for eliciting any statement
12   as impeachment arise. The court is assessing in camera any statements Officer Gaskins would
13   make if she does testify, so that it will be prepared to rule promptly on any request to offer
14   impeachment testimony during trial.
15                  IT IS SO ORDERED.
16                  This resolves ECF Nos. 44, 48.
17   DATED: October 6, 2017.
18

19
                                                  UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
                                                       5
